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      UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA

DAVID STEBBINS,                                                                PLAINTIFF

VS.                                    Case 3:22-cv-04082-AGT

JARROD JONES                                                                   DEFENDANTS

       MOTION FOR LEAVE TO CONDUCT SERVICE OF PROCESS BY EMAIL
        Comes now, pro se Plaintiff David Stebbins, who hereby submits the following the
following Motion for Leave to Conduct Service of Process by Email.
                                             Background
1.      On May 13, 2023, the Court ordered that service of process be attempted on Jarrod Jones
at his home in western Washington State. See Dkt. 26.
2.      However, service has been returned unexecuted, with the resident of that place claiming
that Jarrod Jones does not live there. As of the time of this writing, the “Summons Returned
Executed” has not yet been filed with the Court, but I have confirmed over the phone that it was
returned back to the Court “weeks ago” (Marshall's exact words), and that it must have gotten
lost in the mail. For proof of this, see the unlisted video at https://youtu.be/S8OIJapR6eU. At
timestamp 3:31, you can hear me transparently disclose that I was recording the call, and she said
it was fine.
3.      There is a reasonable possibility that this claim (that Jarrod Jones does not live there) is a
lie. It is entirely possible that it was, in fact, Jarrod Jones who said this, and that he intentionally
denied that he was Jarrod Jones in an attempt to duck service of process. After all, he has
engaged in behavior like this before. As soon as I filed this lawsuit, he quickly deleted his
YouTube channel and even publicly admitted on Kiwi Farms that he did so with the intention of
obstructing my ability to identify and serve him with process int his case. See Dkt. 5, ¶¶ 4-5 and
the corresponding exhibits.
4.      Nevertheless, service has been returned unexecuted all the same.


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5.      Because I have made reasonably diligent efforts to locate the defendant to no avail, I now
ask for leave to serve the Defendant by alternative means, specifically by email. Bear in mind
that I am not required to exhaust every conceivable means of locating the defendant; I am only
required to perform a reasonably diligent search, which I have done in this case.
6.      If granted, I will serve a copy of the summons and complaint on the Defendant by
attaching them to an email sent to zellzander@gmail.com. I will then file a notice with the Court
showing proof that I have done this.
                                                      Law
7.      For the following reasons, the Court should grant this motion.
                                    The Court has discretion to do this.
1.      Fed. R. Civ. P. 4(e)(1) grants district courts the power to authorize service of process by
any method otherwise authorized in the state courts of the state where the federal district court is
located. In this case, that's the state of California.
2.      This has already happened before. See Miller v. Ceres Unified Sch. Dist. , No. 1:15-CV-
0029-B AM, 2016 WL 4702754 (E.D. Cal. Sept. 7, 2016)1 as just one example of a federal
district court authorizing service by email, even when the defendant is not a foreign national,
when attempts to locate the defendant were unsuccessful.
3.      The only constitutional requirement for service of process is that it must be reasonably
calculated to give actual notice to the defendant of the pending action and afford him an
opportunity to defend himself. See Rio Properties, Inc. v. Rio Intern. Interlink, 284 F. 3d 1007,
1017 (9th Cir. 2002) (citing Mullane v. Central Hanover Bank & Trust Co., 339 US 306, 314
(1950)). This gives district courts broad discretion to authorize service using methods that
comport with modern technology. See Rio, supra at 1017 (“Courts ... cannot be blind to changes
and advances in technology ... Electronic communication via satellite can and does provide
instantaneous transmission of notice and information. No longer must process be mailed to a
defendant's door when he can receive complete notice at an electronic terminal inside his very
office, even when the door is steel and bolted shut”). Meanwhile, David Faud writes “While
service by email or social media may be novel and unorthodox , it is also a practical and realistic
1 This unpublished opinion can be found at the following url: casetext.com/case/miller-v-ceres-uniified-sch-dist

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method for notifying defendants of pending litigation. Email and social media accounts are free,
widely used, and accessible anywhere at any time.” See
https://abtl.org/report/la/articles/David_Faud_abtl_Reprint.pdf.
4.        Therefore, the Court absolutely does have discretion to dot his.
                      Defendant is reasonably calculated to be apprised of the action.
5.        In Case 4:21-cv-04184-JSW (Stebbins v. Polano), Dkt. 102, 104, and 117, the District
Court granted my motion for leave to serve Karl Polano by email, while denying without
prejudice my motion for leave to serve Raul Mateas by email. The judge did this because I had
provided extensive email correspondence with Karl Polano, proving that he regularly checks and
responds to emails sent to the email address of sofiannp@hotmail.com, thereby proving that he is
likely to be apprised of the action if service of process is sent to that email address, but that I had
not provided the same proof of correspondence with Raul Mateas.
6.        In light of this, please find attached Exhibit A, providing only a small (but still adequate)
sample of the email correspondence I have engaged in with the defendant through the email
address of zellzander@gmail.com. This proves that the defendant is almost certain to be apprised
of the action (assuming he isn't apprised already; see next subsection for details) if the summons
and complaint are sent to that email address.
                                 Defendant already knows about the litigation.
7.        The Defendant actually and subjectively already knows about this litigation. In fact, he
has made posts on the website of Kiwi Farms openly acknowledging that he is aware of the
pending action. See Exhibit B2. He even admits that he deleted his YouTube account in the hopes
of obstructing my ability to locate him. See Exhibit C3.

2 You can see this post by going to the url of
  https://kiwifarmsaaf4t2h7gc3dfc5ojhmqruw2nit3uejrpiagrxeuxiyxcyd.onion/threads/david-anthony-stebbins-
  acerthorn-stebbinsd-fayettevillesdavid.116370/page-52#post-12421130

  However, you will need a Tor browser to access this website, as Kiwi Farms has since been taken off the
  clearnet.
3 You can see this post by going to the url of
  https://kiwifarmsaaf4t2h7gc3dfc5ojhmqruw2nit3uejrpiagrxeuxiyxcyd.onion/threads/david-anthony-stebbins-
  acerthorn-stebbinsd-fayettevillesdavid.116370/page-54#post-12423158

     You will need a Tor browser for this link, too.

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8.     This is important because we must remember that “service of process” is not a stand
alone right that exists for its own sake. It is simply the default means of honoring the Defendant's
constitutional right to be notified of the litigation and given a reasonable opportunity to respond
accordingly. See Mullane v. Central Hanover Bank & Trust Co., 339 US 306, 314-15 (1950). In
cases where, as is the case here, the unserved defendant(s) clearly already know of the litigation,
service of process becomes merely a formality, at which point, that is typically a factor weighing
in favor of granting leave to conduct service by email. See Miller v. Ceres Unified Sch. Dist.,
Case No. 1:15-cv-0029-BAM, 5 (E.D. Cal. Sep. 7, 2016) (“Indeed, there is little doubt that
Defendant Kimberly Phipps is fully aware of this lawsuit”). See also U.S. ex rel. UXB Int’l, Inc.
v. 77 Insaat & Taahhut A.S., No. 7:14-CV-00339, 2015 WL 4208753, at *3 (W.D. Va. July 8,
2015) (holding that email service on owner of Iraqi and Afghan corporat e defendants was proper
where owner and defendants were “more than likely” already aware of litigation).
9.     At this point, service of process is merely a formality. The Court could probably forego
service entirely, and simply post an order, appearing only on Pacer, ordering him to appear
within 21 days, and treat that as service effected. While the propriety of that action may be
questionable under the Federal Rules of Civil Procedure, the Defendant's constitutional right to
notice would still be satisfied. Service, even by email, is merely a box that needs to be checked
simply because “that's the law,” while serving no actual pragmatic function.
         I am not required to exhaust all other methods of service before requesting this.
8.     As I alluded to earlier, it is not necessary that I exhaust literally all conceivable methods
of locating the Defendant. All that is required is that I make reasonable efforts to locate him. I
have done that.
9.     The 9th Circuit has recognized that service by email “is neither a 'last resort' nor
'extraordinary relief.' It is merely one means among several which enables service of process.”
See Rio Properties, Inc. v. Rio Intern. Interlink, 284 F. 3d 1007, 1015 (9th Cir. 2002). Bear in
mind that “[t]he goal of Fed. R. Civ. P. 4 is to 'to provide maximum freedom and flexibility in the
procedures for giving all defendants . . . notice of commencement of the action and to eliminate
unnecessary technicality in connection with service of process.'” Miller v. Ceres Unified Sch.


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Dist., Case No. 1:15-cv-0029-BAM, 4 (E.D. Cal. Sep. 7, 2016) (citing Electrical Specialty Co. v.
Road and Ranch Supply, Inc., 967 F.2d 309, 314 (9th Cir. 1992)).
10.       As such, permitting service by email, even when I have not totally exhausted all other
methods, is well within the Court's discretion and does not at all violate principles of due
process.
11.       Many years ago, service on an elusive defendant was typically handled by publishing a
copy of the summons and complaint in the local newspaper. Of course, the odds that the
Defendant would actually see that notice was astronomical. As such, it made sense that such
service should only be authorized as a last resort. It was better than nothing, but “nothing” really
is the only thing it's better than.
12.       By contrast, service by email or by social media does not have that same problem.
Whereas service by publication in a newspaper had an extremely low chance of actually reaching
the defendant, service by email or social media accounts that the defendant regularly uses has a
very low chance of not reaching him. As such, courts and law firms all over the nation are
quickly beginning to champion service by email and/or social media as an adequate means of
service of process. See …
      •   https://www.findlaw.com/legalblogs/law-and-life/can-you-serve-someone-with-a-lawsuit-
          via-twitter/
      •   https://ubaltlawreview.com/2017/01/20/youvebeenserved-court-holds-twitter-as-an-
          acceptable-method-of-service-of-process/
      •   https://www.dgrlegal.com/service-process-twitter-whatsapp/
      •   https://lawandcrime.com/lawsuit/a-tweet-is-now-apparently-an-acceptable-way-to-notify-
          someone-of-a-lawsuit/
      •   https://klosslaw.com/service-via-unconventional-means/
      •   https://undisputedlegal.com/how-to-serve-legal-papers-on-facebook/
      •   https://www.jglaw.law/resources/articles/service-of-legal-papers-via-facebook-yes/
13.       This court should likewise adopt a similar philosophy.
14.       Even in the already low chance that the service of process doesn't reach him somehow


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(e.g. if the email gets sent to his spam folder), we must remember that the Defendant in this case
clearly already knows about the lawsuit. Once I post the proof of service on Pacer, there is a
100% chance he will see that, even if he didn't receive the email in the first instance.
                                          Leave Requested
15.    Therefore, the Court should grant me leave to serve process by email. If granted, I will
send an email to zellzander@gmail.com, attaching copies of the summons, complaint, and (if the
Court issues this order) the order to show cause why he should not be sanctioned for attempting
to cause needless delay in the litigation by evading service of process. I will then file a notice
with the Court, attaching a screenshot, with the attachments visible, proving that I have done
this, similar to what I did in Case 4:21-cv-04184-JSW, Dkt. 118.
16.    From there, I ask that the Court declare service of process as having been effected on the
Defendant, and that the 21 day time limit for him to respond begin to run the day after that,
pursuant to Fed.R.Civ.P. 6(a)(1)(A).
17.    If the Defendant wishes to object to service by email, he is free to file a Motion pursuant
to Fed.R.Civ.P. 12(b)(4) or 12(b)(5). But that would still require he make an appearance in this
case and stop giving me the run-around.
                                            Conclusion
18.     Wherefore, premises considered, I respectfully request that leave to conduct service of
process by email be granted.
       So submitted on this, the 11th day of September, 2023.
                                                                                 /s/ David Stebbins
                                                                             David Stebbins (pro se)




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